USCA Case #25-5067  UnitedDocument
                            States    Court ofFiled:
                                   #2106633      Appeals
                                                     03/19/2025                      Page 1 of 1
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 25-5067                                                     September Term, 2024
                                                                             1:25-cv-00766-JEB
                                                            Filed On: March 19, 2025
J.G.G., et al.,

                  Appellees

        v.

Donald J. Trump, in his official capacity as
President of the United States, et al.,

                  Appellants
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Consolidated with 25-5068

        BEFORE:          Henderson, Millett, and Walker, Circuit Judges

                                             ORDER

      It is ORDERED, on the court’s own motion, that these consolidated cases be
scheduled for oral argument on Monday, March 24, 2025, at 1:30 p.m. before Circuit
Judges Henderson, Millett, and Walker. It is

        FURTHER ORDERED that following times be allotted for oral argument:

                  Appellants                      -                     30 Minutes

                  Appellees                       -                     30 Minutes

       One counsel per side to argue. Form 72, which may be accessed through the
link on this order, must be completed and returned to the Clerk’s Office by March 20,
2025.

                                            Per Curiam

                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Michael C. McGrail
                                                              Deputy Clerk

The following forms and notices are available on the Court’s website:

        Notification to the Court from Attorney Intending to Present Argument (Form 72)
